                              Case 1:11-cv-00059-OWW-GSA Document 8 Filed 04/08/11 Page 1 of 3


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                         10                           UNITED STATES DISTRICT COURT
                         11                                EASTERN DISTRICT OF CALIFORNIA
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                              WILLIAM D. MELLO,                                 1:11-CV-00059 OWW GSA HC
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                                                    Petitioner,                 ORDER ADOPTING FINDINGS AND
                         14                                                     RECOMMENDATION
                                                                                [Doc. #7]
                         15          v.
                                                                                ORDER DISMISSING PETITION FOR WRIT
                         16                                                     OF HABEAS CORPUS AND DIRECTING
                                                                                CLERK OF COURT TO ENTER JUDGMENT
                         17   L. HARTON,
                                                                                ORDER DECLINING ISSUANCE OF
                         18                         Respondent.                 CERTIFICATE OF APPEALABILITY
                                                                         /
                         19
                         20          Petitioner is a state prisoner proceeding pro se with a petition for writ of habeas corpus
                         21   pursuant to 28 U.S.C. § 2254.
                         22          On February 25, 2011, the Magistrate Judge issued a Findings and Recommendation that
                         23   recommended the petition for writ of habeas corpus be DISMISSED for failure to allege grounds that
                         24   would entitle Petitioner to habeas relief. The Magistrate Judge further recommended that the Clerk
                         25   of Court be DIRECTED to send Petitioner the standard form for filing a civil rights complaint. This
                         26   Findings and Recommendation was served on all parties and contained notice that any objections to
                         27   the Findings and Recommendation were to be filed within thirty (30) days of the date of service of
                         28   the order. Over thirty (30) days have passed and no party has filed objections.

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                              Case 1:11-cv-00059-OWW-GSA Document 8 Filed 04/08/11 Page 2 of 3


                          1          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C), this Court has conducted a de
                          2   novo review of the case. Having carefully reviewed the entire file, the Court concludes that the
                          3   Magistrate Judge's Findings and Recommendation is supported by the record and proper analysis.
                          4          A state prisoner seeking a writ of habeas corpus has no absolute entitlement to appeal a
                          5   district court’s denial of his petition, and an appeal is only allowed in certain circumstances. Miller-
                          6   El v. Cockrell, 537 U.S. 322, 335-36 (2003). The controlling statute in determining whether to issue
                          7   a certificate of appealability is 28 U.S.C. § 2253, which provides as follows:
                          8            (a) In a habeas corpus proceeding or a proceeding under section 2255 before a
                                     district judge, the final order shall be subject to review, on appeal, by the court
                          9          of appeals for the circuit in which the proceeding is held.
                         10            (b) There shall be no right of appeal from a final order in a proceeding to test the
                                     validity of a warrant to remove to another district or place for commitment or trial
                         11          a person charged with a criminal offense against the United States, or to test the
                                     validity of such person’s detention pending removal proceedings.
                         12
                                       (c)    (1) Unless a circuit justice or judge issues a certificate of appealability, an
                         13                  appeal may not be taken to the court of appeals from–
                         14                           (A) the final order in a habeas corpus proceeding in which the
                                                     detention complained of arises out of process issued by a State
                         15                          court; or
                         16                            (B) the final order in a proceeding under section 2255.
                         17                   (2) A certificate of appealability may issue under paragraph (1) only if the
                                             applicant has made a substantial showing of the denial of a constitutional right.
                         18
                                              (3) The certificate of appealability under paragraph (1) shall indicate which
                         19                  specific issue or issues satisfy the showing required by paragraph (2).
                         20          If a court denies a petitioner’s petition, the court may only issue a certificate of appealability
                         21   “if jurists of reason could disagree with the district court’s resolution of his constitutional claims or
                         22   that jurists could conclude the issues presented are adequate to deserve encouragement to proceed
                         23   further.” Miller-El, 537 U.S. at 327; Slack v. McDaniel, 529 U.S. 473, 484 (2000). While the
                         24   petitioner is not required to prove the merits of his case, he must demonstrate “something more than
                         25   the absence of frivolity or the existence of mere good faith on his . . . part.” Miller-El, 537 U.S. at
                         26   338.
                         27          In the present case, the Court finds that reasonable jurists would not find the Court’s
                         28   determination that Petitioner is not entitled to federal habeas corpus relief debatable, wrong, or

U .S. D istrict C ourt
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                              Case 1:11-cv-00059-OWW-GSA Document 8 Filed 04/08/11 Page 3 of 3


                          1   deserving of encouragement to proceed further. Petitioner has not made the required substantial
                          2   showing of the denial of a constitutional right. Accordingly, the Court hereby DECLINES to issue a
                          3   certificate of appealability.
                          4           Accordingly, IT IS HEREBY ORDERED that:
                          5           1. The Findings and Recommendation issued February 25, 2011, is ADOPTED IN FULL;
                          6           2. The petition for writ of habeas corpus is DISMISSED;
                          7           3. The Clerk of the Court is DIRECTED to enter judgment; and
                          8           4. The Court DECLINES to issue a certificate of appealability.
                          9   IT IS SO ORDERED.
                         10   Dated: April 8, 2011                             /s/ Oliver W. Wanger
                              emm0d6                                      UNITED STATES DISTRICT JUDGE
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